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                             IN THE UNITED STATES DISTRICT COURT
                             FOR THE SOUTHERN DISTRICT OF TEXAS
                                       HOUSTON DIVISION
 In re:                                           §
                                                  §
 Polaris Operating, LLC, et al.,                  §               Case No. 23-32810 (CML)
                                                  §
                                                  §               Chapter 11
          Debtors.                                §
                                                  §               (Jointly Administered)

     LIMITED OBJECTION OF CHRISTOPHER T. CZUPPON TO DEBTORS’
EMERGENCY MOTION FOR (A) ENTRY OF AN ORDER (I) APPROVING BIDDING
  PROCEDURES; (II) APPROVING PROCEDURES FOR THE ASSUMPTION AND
  ASSIGNMENT OF EXECUTORY CONTRACTS AND UNEXPIRED LEASES; (III)
    APPROVING STALKING HORSE PROTECTIONS; (IV) SCHEDULING BID
DEADLINE, AUCTION DATE, AND SALE HEARING DATE; (V) APPROVING FORM
OF NOTICE THEREOF; (B) ENTRY OF AN ORDER AFTER THE SALE HEARING (I)
AUTHORIZING THE DEBTORS TO SELL THEIR ASSETS; AND (II) AUTHORIZING
 THE DEBTORS TO ASSUME AND ASSIGN CERTAIN EXECUTORY CONTRACTS
      AND UNEXPIRED LEASES; AND (C) GRANTING RELATED RELIEF

          Christopher T. Czuppon, an equity security holder and party-in-interest in the above

captioned cases files this Objection to the Debtors’ Emergency Motion for (A) Entry of an Order

(I)Approving Bidding Procedures; (II) Approving Procedures for the Assumption and Assignment

of Executory Contracts and Unexpired Leases; (III) Approving Stalking Horse Protections; (IV)

Scheduling Bid Deadline, Auction Date, and Sale Hearing Date; (IV) Approving Form of Notice

Thereof; (B) Entry of an Order After the Sale Hearing (I) Authorizing the Debtors to Sell Their

Assets; and (II) Authorizing the Debtors to Assume and Assign Certain Executory Contract and

Unexpired Leases; and (C) Granting Related Relief [Docket No. 211] (the “Sale Motion”) and

respectfully states as follows:

          1.       Mr. Czuppon serves as the Debtors’ Chief Executive Officer, but files this limited

objection in his individual capacity and as an equity security holder of the Debtors. The Debtors’

proposed bidding procedures requested in the Sale Motion should not be approved as proposed



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because they provide inadequate time to market the Debtors’ assets. This case has been pending

for less than four months, and a DIP financing facility has only just been approved. Yet, the

proposed bidding procedure contemplate a rushed “fire sale” of substantially all of the Debtors’

assets during the holiday season. Under the proposed bidding procedures, bids would be due by

December 8, 2023 (less than three weeks from now) and a potential auction held on December 13,

2023 (less than four weeks from now). Less than three weeks, including the Thanksgiving break,

is simply insufficiently time for the Debtors’ newly retained investment banker to market the

Debtors’ assets and for potential bidders to complete their due diligence. As of the date of the

filing of the Sale Motion, the Debtors had not even selected stalking horse bidders for the

Masterson Assets (as defined in the Sale Motion) and the WGU Waterflood Assets (as defined in

the Sale Motion). The accelerated timetable will undoubtedly produce under market bids, to the

detriment of all stakeholders.

       2.      There is no reason for this extremely rushed process. While the Debtors must raise

funds to pay back the DIP loan (to the extent drawn) by January 15, 2024, the current stalking

horse bid for the Mesa Vista Assets (as defined in the Sale Motion) is more than sufficient to cover

the DIP obligation. There is no need to expedite the sale process as to the Masterson Assets and

WGU Waterflood Assets. These assets have substantial value and a more robust sale process is

needed to garner their fair market value. Moreover, the Debtors’ revenues have been increasing.

In September, the Debtors had a net loss of only $70,854 even including interest and reorganization

expenses.1 Thus, a reorganization, even around just the Masterson assets and the WGU Waterflood

Assets, is not out of the question.



1
  Debtors’ Monthly Operating Report for the period ending September 30, 2023, Docket No. 172,
at p. 2.


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                                        CONCLUSION

       WHEREFORE, Mr. Czuppon respectfully requests that the Court deny the Sale Motion

unless modified consistent with this objection and grant him all such other and further relief to

which he is justly entitled.

Dated: November 21, 2023

                                                 Respectfully submitted,

                                                 DYKEMA GOSSETT PLLC


                                                 By: /s/ Basil A. Umari
                                                      Basil A. Umari
                                                      SDTX Bar No. 30472
                                                      Texas Bar No. 24028174
                                                      bumari@dykema.com
                                                      5 Houston Center
                                                      1401 McKinney St., Suite 1625
                                                      Houston, Texas 77010



                               CERTIFICATE OF SERVICE

      I hereby certify that the foregoing document has been served on the parties on all parties
who receive notices via Court’s electronic filing service on or before the 21st day of November,
2023.

                                                           /s/ Basil A. Umari
                                                              Basil A. Umari




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